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              UNITED STATES OF AMERICA,

                           Plaintiff,                         CASENO.:2:16-CR-12


                   V.



              MELVINA LEWIS,

                           Defendant.



                                                  ORDER


                   After an independent and de novo review of the entire

              record, the undersigned concurs with the Magistrate Judge's

              Report and Recommendation, dkt. no. 532, to which no objections

              have been filed.          Accordingly, the Court ADOPTS the Magistrate

              Judge's Report and Recommendation as the opinion of the Court.

              Melvina Lewis is competent to stand trial and shall proceed with

              this case.


                  SO ORDERED, this \ \                               c / ' 2016.

                                                      )BEY WOOD, CHIEF JUDGE
                                                     STATES DISTRICT COURT
                                              SOt55^lERN DISTRICT OF GEORGIA




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(Rev. 8/82)
